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10   UNITED STATES OF AMERICA

11
                              UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,             No.   5:21-mj-00514
14
                 Plaintiff,                GOVERNMENT'S NOTICE OF REQUEST
15                                         FOR DETENTION
                      v.
16
     JOHN MATHEW PIECUCH,
17
                 Defendant.
18

19         Plaintiff, United States of America, by and through its counsel

20   of record, hereby requests detention of defendant and gives notice

21   of the following material factors:

22          1.   Temporary 10-day Detention Requested (~ 3142(d)) on the

23               following grounds:

24                 a. present offense committed while defendant was on

25                    release pending (felony trial), (sentencing),

26                    (appeal), or on (probation) (parole); or

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 1                    b. defendant is an alien not lawfully admitted for

 2                       permanent residence; and

 3                    c. defendant may flee; or

 4                    d. pose a danger to another or the community.

 5     x         2. Pretrial Detention Requested (~ 3142(e)) because no

 6                  condition or combination of conditions will reasonabl

 7 '

 8           x        a. the appearance of the defendant as required;

 9           x        b. safety of any other person and the community.

10               3. Detention Requested Pending Supervised Release/Probation

11                 Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

12                 ~ 3143(a)):

13                  a.   defendant cannot establish by clear and convincing

14                       evidence that he/she will not pose a danger to any

15                       other person or to the community;

16                   b. defendant cannot establish by clear and convincing

17                       evidence that he/she will not flee.

18     X      4.   Presumptions Applicable to Pretrial Detention (18 U.S.C.

19                 ~ 3142(e)):

20                  a.   Title 21 or Maritime Drug Law Enforcement Act

21                       ("MDLEA") (46 U.S.C. App. 1901 et seq.) offense with

22                       10-year or greater maximum penalty (presumption of

23                       danger to community and flight risk);

24                   b. offense under 18 U.S.C. ~§ 924(c), 956(a), 2332b, or

25                       2332b(g)(5)(B) with 10-year or greater maximum

26                       penalty (presumption of danger to community and

27                       flight risk);

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 1         X        c. offense involving a minor victim under 18 U.S.C.

 2                     ~~ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

 3                     2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a) (4),

 4                     2260, 2421, 2422, 2423 or 2425 (presumption of danger

 5                     to community and flight risk);

 6                  d. defendant currently charged with an offense described

 7                     in paragraph 5a - 5e below, AND defendant was

 8                     previously convicted of an offense described in

 9                     paragraph 5a - 5e below (whether Federal or

10                     State/local), AND that previous offense was committed

11                     while defendant was on release pending trial, AND the

12                     current offense was committed within five years of

13                     conviction or release from prison on the above-

14                     described previous conviction (presumption of danger

15                     to community).

16   x         5. Government Is Entitled to Detention Hearing Under

17                ~ 3142(f) If the Case Involves:

18                  a. a crime of violence (as defined in 18 U.S.C.

19                    § 3156(a)(4)) or Federal crime of terrorism (as

20                    defined in 18 U.S.C. § 2332b(g)(5)(B)) for which

21                    maximum sentence is 10 years' imprisonment or more;

22                 b. an offense for which maximum sentence is life

23                    imprisonment or death;

24                 c. Title 21 or MDLEA offense for which maximum sentence

25                    is 10 years' imprisonment or more;

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 1                  d. any felony if defendant has two or more convictions

 2                     for a crime set forth in a-c above or for an offense

 3                     under state or local law that would qualify under a,

 4                     b, or c if federal jurisdiction were present, or a

 5                     combination or such offenses;

 6         X        e. any felony not otherwise a crime of violence that

 7                     involves a minor victim or the possession or use of a

 8                     firearm or destructive device (as defined in 18

 9                     U.S.C. § 921), or any other dangerous weapon, or

10                     involves a failure to register under 18 U.S.C.

11                     ~ 2250;

12         x        f. serious risk defendant will flee;

13                  g. serious risk defendant will (obstruct or attempt to

14                     obstruct justice) or (threaten, injure, or intimidate

15                     prospective witness or juror, or attempt to do so).

16             6. Government requests continuance of          days for

17                detention hearing under § 3142(f) and based upon the

18               following reason(s):

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22

23   //

24   //

25   //

26   //

27   //

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 1           7. Good cause for continuance in excess of three days exists

 2              in that:

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 8   Dated: August 2, 2021             Respectfully submitted,

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15                                              /S/
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